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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


  ROOFER’S PENSION FUND,

         Plaintiff,                                              Civil Action No. 16-2805

                  v.                                                    ORDER

  PAPA, et al.,

         Defendant.



        THIS MATTER having come before the Court by way of Defendants Perrigo Company

 PLC (“Perrigo”), Joseph Papa, Judy Brown, Laurie Brlas, Gary M. Cohen, Jacqualyn A. Fouse,

 Ellen R. Hoffing, Michael Jandernoa, Gerland K. Kunkle, Jr., Herman Morris, Jr., and Donal

 O’Connor’s Motion to Dismiss, ECF. No. 114, and Defendant Mark Coucke’s Motion to

 Dismiss, ECF No. 119, the First Amended Complaint (“FAC”), ECF No. 89;

        And the Court having considered the submissions of the parties;

        And for the reasons stated in the accompanying opinion;

        IT IS on this 27th day of July, 2018;

        ORDERED Defendants Perrigo Company PLC (“Perrigo”), Joseph Papa, Judy Brown,

 Laurie Brlas, Gary M. Cohen, Jacqualyn A. Fouse, Ellen R. Hoffing, Michael Jandernoa,

 Gerland K. Kunkle, Jr., Herman Morris, Jr., and Donal O’Connor’s Motion to Dismiss, ECF. No.

 114, is DENIED with respect to Defendants Perrigo, Papa, and Brown and GRANTED without

 prejudice with respect to the remaining Defendants; and it is
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       ORDERED that Defendant Mark Coucke’s Motion to Dismiss, ECF No. 119, is

 GRANTED without prejudice.

                                              /s Madeline Cox Arleo___________
                                              MADELINE COX ARLEO
                                              UNITED STATES DISTRICT JUDGE
